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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA
                           FORT LAUDERDALE DIVISION


 IN RE:

 RALPH LEVI SANDERS, JR.                               CASE NO.: 17-19141-RBR
                                                       CHAPTER: 13

      Debtor.
__________________________/

              NOTICE OF APPEARANCE AND REQUEST FOR SERVICE
        COMES NOW, ALBERTELLI LAW, attorneys for The Bank of New York Mellon,
f/k/a The Bank of New York, successor in interest to JPMorgan Chase Bank, N.A. as Trustee
for Bear Stearns Asset Backed Securities Trust 2006-SD2, Asset-Backed Certificates, Series
2006-SD2, hereby enters its Notice of Appearance in the above-styled action. In accordance with
Rule 2002 of the Bankruptcy Rules the undersigned requests notice for the following notice in this
case.

       Property Address: 561 SW 60 Avenue Plantation, Florida 33317

       Last Four Digits of Loan Number: 9122


        The undersigned respectfully requests the following to be added to the Court’s Mailing
Matrix in according to Rule 2002(g):


                                                            /s/Scott Lewis, Esq.
                                                      Scott C. Lewis, Esq.
                                                      FBN 112064
                                                      813-221-4743 ext. 2603

                                                      Albertelli Law
                                                      Attorney for Secured Creditor
                                                      PO Box 23028
                                                      Tampa, FL 33623
                                                      Facsimile: (813) 221-9171
                                                      bkfl@albertellilaw.com




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                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 25th day of August, 2017, I served a copy of the
foregoing upon:

SERVICE LIST

Ralph Levi Sanders, Jr.
561 SW 60 Ave.
Plantation, FL 33317

Michael H. Johnson
3601 W. Commercial Blvd. #31
Ft. Lauderdale, FL 33309

Robin R. Weiner
www.ch13weiner.com
POB 559007
Fort Lauderdale, FL 33355

Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130


                                                     /s/Scott Lewis, Esq.
                                               Scott C. Lewis, Esq.
                                               FBN 112064
                                               813-221-4743 ext. 2603

                                               Albertelli Law
                                               Attorney for Secured Creditor
                                               PO Box 23028
                                               Tampa, FL 33623
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